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                                                                       2014 Nov-04 PM 02:02
                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

DEBORAH WOODS, et al., ex         }
rel. UNITED STATES OF             }
AMERICA,                          }
                                  }
     Plaintiffs,                  }
                                  }       CIVIL ACTION NO.
v.                                }
                                  }       2:14-mc-1847-WMA
SOUTHERNCARE, INC.,               }
                                  }
     Defendant.                   }

                   MEMORANDUM OPINION AND ORDER

     Deborah   Woods,   Theresa   Goolsby,    and   Teresa   Rieder,   the

relators in an action pending before the United States District

Court for the Southern District of Mississippi, Civil Action No.

3:09-cv-313-CWR-LRA, served Simione Healthcare Consultants, LLC

(“Simione”), with a subpoena on August 15, 2014. (Doc. 1 at 16).

The subpoena designated the law office of Oscar Price, an attorney

for the relators, as the place of compliance; such office is

located in the Northern District of Alabama. Simione moved to quash

the subpoena in this court on September 29, 2014. (Doc. 1).

SouthernCare, Inc., the defendant in the underlying suit, filed its

own motion to quash the subpoena the following day. (Doc. 3). In

response to the motions to quash, the relators filed a motion to

transfer the motions to the court that issued the subpoena, the

Southern District of Mississippi. (Doc. 6). For the reasons stated

below, the relators’ motion to transfer will be denied.


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                                  BACKGROUND

     SouthernCare is a hospice company with locations in fifteen

states. (Doc. 6 at 2). In January 2009, SouthernCare settled a

lawsuit with the United States; the suit was brought under the

False Claims Act, alleging that the company submitted false claims

to the government on behalf of patients who were not eligible for

hospice   care.   (Doc.    6-1    at   2).    As    part   of   the   settlement,

SouthernCare agreed to be evaluated by an Independent Review

Organization. (Doc. 6-2). Simione was retained by SouthernCare to

perform such evaluation. (Doc. 1 at 3). Simione is a consulting

firm based in Hamden, Connecticut, with expertise in the hospice

industry. (Doc. 1 at 2-3).

     The relators in the underlying action, former employees of

SouthernCare,     sued    the    company     in    the   Southern     District   of

Mississippi under the False Claims Act in May 2009, alleging that

the company continued to submit false claims to the government.

(Doc. 6 at 3). This litigation is ongoing. The relators issued a

subpoena to Simione on August 15, 2014, essentially seeking all

documents in Simione’s possession that relate to its review of

SouthernCare. (Doc. 6 at 3). The subpoena requires production at an

address in this judicial district. Simione objected and filed a

motion to quash in this court on four grounds: (1) the subpoena

requires disclosure of proprietary trade secrets and confidential

business information; (2) the subpoena requires disclosure of


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unretained expert’s opinions; (3) the subpoena requires disclosure

of    protected   health   information     of   patients   and    privileged

materials; and (4) the subpoena subjects Simione to undue burden.

(Doc. 1). SouthernCare filed its own motion to quash and objected

on two grounds: (1) the subpoena is overbroad and seeks irrelevant

documents; and (2) the subpoena requires disclosure of unretained

expert’s opinions. (Doc. 4). In response, the relators moved to

transfer the motions to the Southern District of Mississippi. (Doc.

6).

                                DISCUSSION

       Subpoenas are governed by Fed. R. Civ. P. 45, which was

substantially amended in 2013. As amended, a subpoena must be

issued by the court where the underlying action is pending, but

challenges to the subpoena are to be heard by the district court

encompassing the place where compliance with the subpoena is

required. Fed. R. Civ. P. 45(a)(2), (d)(3)(A). The subpoena must

state the place where compliance is required, which must be within

100 miles of where the subpoenaed party resides, is employed, or

regularly    transacts     business   in    person.   Fed.   R.    Civ.   P.

45(a)(1)(A)(iii), (c)(2)(A).

       Subsection (f) of Rule 45 is new. It allows the court where

compliance is required to transfer a motion regarding the subpoena

to the court that issued it. Such transfer is only permissible “if

the person subject to the subpoena consents or the court finds


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exceptional circumstances.” Fed. R. Civ. P. 45(f). SouthernCare has

not consented to transfer, so the relators must demonstrate that

exceptional   circumstances      exist.   The   Advisory   Committee      note

explains the exceptional circumstances standard:

     In the absence of consent, the court may transfer in
     exceptional circumstances, and the proponent of transfer
     bears the burden of showing that such circumstances are
     present. The prime concern should be avoiding burdens on
     local nonparties subject to subpoenas, and it should not
     be assumed that the issuing court is in a superior
     position to resolve subpoena-related motions. In some
     circumstances, however, transfer may be warranted in
     order to avoid disrupting the issuing court's management
     of the underlying litigation, as when that court has
     already ruled on issues presented by the motion or the
     same issues are likely to arise in discovery in many
     districts. Transfer is appropriate only if such interests
     outweigh the interests of the nonparty served with the
     subpoena in obtaining local resolution of the motion.

Fed. R. Civ. P. 45(f) advisory committee’s note (2013).

     There is little case law interpreting subsection (f), and none

from courts within the Eleventh Circuit, since the rule has been in

effect for less than a year. The rule text and Advisory Committee’s

note make clear, however, that subpoena-related motions should be

heard in   the   court   where   compliance     is   required,   unless    the

proponent of transfer demonstrates that exceptional circumstances

exist. If such circumstances exist, those interests should then be

balanced against the nonparty’s interest in local resolution of the

motion to determine if transfer is warranted.

     The Committee’s reasoning is evident: local nonparties should

be burdened as little as practicable by litigation in which they


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are not involved, and local resolution of the motion will typically

impose a lighter burden. Simione, however, is not a local nonparty

at all; it is a company based in Connecticut. The parties dispute

the importance of this fact. The relators contend that this favors

transfer, since Simione has no real interest in resolution of the

motion in one foreign forum over another. Simione, on the other

hand, complains that it has already been dragged to this forum by

the relators, so allowing the relators to continue to drag Simione

over to Mississippi would be inequitable.

      Neither of these arguments is responsive to the standard of

Rule 45(f). Relators mistake the requirements of the rule for a

strict balancing test, as if the circumstances favoring transfer

are simply to be weighed against the interests of the nonparty in

obtaining local resolution. According to the relators, Simione has

no interest in local resolution, since it is not a local nonparty,

so transfer is appropriate.

      Rule 45(f) and its comment, however, set forth a different

standard.1 Transfer is only warranted if exceptional circumstances



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        The relators cite Agincourt Gaming, LLC v. Zynga, Inc., 2:14-CV-0708-
RFB-NJK, 2014 WL 4079555, *6 (D. Nev. Aug. 15, 2014), for the proposition that
the committee notes “formulate a balancing test in which the court considers
‘whether the circumstances favoring transfer outweigh the interest of the
nonparty served with the subpoena in obtaining local resolution of the
motion.’” This court sees no error in that court’s application of the rule,
since it found exceptional circumstances to exist based on a variety of
factors, including the presence of related cases pending before the issuing
court and pending non-party subpoenas in several different districts; the
court then properly balanced those interests against the nonparty’s burden in
transfer. To the extent that the court favored a balancing test without first
finding exceptional circumstances, however, this court disagrees.

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exist; in other words, exceptional circumstances must first be

found before any balancing takes place. The lack of a burden

imposed on the nonparty by transfer is not in itself an exceptional

circumstance and is insufficient to warrant transfer.

     Simione’s position is similarly inapposite. It essentially

complains that it was brought from Connecticut to Alabama against

its will and is forced to litigate in this court, so the court

should at least prevent the relators from haling them to yet

another foreign court. Transferring the action would, according to

Simione, create an avenue under Rule 45(f) for “gamesmanship” and

forum manipulation. (Doc. 9 at 7).

     Simione’s complaint is more properly the basis for a challenge

under Rule 45(c)(2)(A), but Simione does not bring such a motion,

even though it apparently recognized the possibility (Doc. 6-6 at

4). That subsection requires compliance with the subpoena “at a

place within 100 miles of where the person resides, is employed, or

regularly   transacts   business    in    person.”    Fed.   R.   Civ.   P.

45(c)(2)(A). The Advisory Committee rightfully found that this

requirement sufficiently protects nonparties from undue burden in

responding to subpoenas by ensuring local resolution of disputes.

See Fed. R. Civ. P. 45(f) advisory committee’s note (2013) (“To

protect   local   nonparties,   local    resolution   of   disputes   about

subpoenas is assured by the limitations of Rule 45(c) and the

requirements in Rules 45(d) and (e) that motions be made in the


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court in which compliance is required under Rule 45(c).”). If

Simione    or   other    subpoenaed         nonparties      feel     slighted     by    the

designated place of compliance, Rule 45(c) is the clear avenue to

challenge the location, and that rule offers sufficient protection

from the “gamesmanship” and forum manipulation of which Simione

complains. Because Simione chose not to challenge the subpoena

under Rule 45(c), its concerns are inapplicable to this motion.

      Turning to the inquiry under Rule 45(f), this court finds that

exceptional     circumstances          do   not    exist.    “[T]he         proponent   of

transfer    bears       the    burden        of    showing      that    [exceptional]

circumstances are present,” and “it should not be assumed that the

issuing court is in a superior position to resolve subpoena-related

motions.” Fed. R. Civ. P. 45(f) advisory committee’s note (2013).

The   committee     only      points    to       one   reason   as     an    exceptional

circumstance — “disrupting the issuing court’s management of the

underlying litigation.” Id. The committee cites two examples of

such disruption: (1) the issuing court “has already ruled on issues

presented by the motion”; or (2) “the same issues are likely to

arise in discovery in many districts.” Id. Other district courts

have transferred actions for these two reasons. See, e.g., Moon

Mountain Farms, LLC v. Rural Cmty. Ins. Co., No. 14–mc–80099–SC,

2014 WL 3378011 (N.D. Cal. July 10, 2014) (transferring a motion to

compel compliance with a subpoena because the issuing court had

already ruled on the issues raised); Valle del Sol, Inc. v. Kobach,


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No.   14–mc–219–JAR,     2014    WL    3818490   (D.     Kan.    Aug.   4,   2014)

(transferring    a   motion     to    compel   because    both    examples    were

present). Other courts have refused to transfer subpoena-related

motions when these circumstances are not present. See, e.g., CMB

Expert, LLC v. Atteberry, No. 3:14–mc–51–B–BN, 2014 WL 2197840

(N.D. Tex. May 27, 2014); Garden City Employees’ Ret. Sys. v.

Psychiatric Solutions, Inc., No. 2:13-mc-00238-JS, 2014 WL 272088

(E.D. Pa. Jan. 24, 2014).

      The parties dispute whether this court’s resolution of the

motion to quash would disrupt the underlying litigation. The

relators contend that this court would be required to decide issues

that the District Court for the Southern District of Mississippi

will also decide in the underlying lawsuit — namely, the relevance

and privilege of SouthernCare’s communications with Simione.2 These

concerns are primarily advanced in the name of judicial economy,

but the relators also caution that this court should be hesitant to

rule on the relevance of evidence to an action pending elsewhere

and to interpret the implications of the issuing court’s opinions

and orders.

      Simione, on the other hand, argues that resolution of the

motion to quash would not disrupt the underlying litigation because

the issues raised are specific to Simione and have no bearing on



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       The relators also claim that Simione’s status as a potentially
unretained expert is or will be at issue in the underlying suit.

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the issues in the underlying suit. Simione also contends that

judicial economy is not itself a basis for transfer under Rule

45(f), at least as a concern separate from disruption of the

underlying litigation.

     The relators are likely correct that some of the issues that

will arise in resolving the motions to quash will also arise in the

underlying litigation, because SouthernCare’s motion in particular

raises concerns of relevance that are almost certainly in common

with the myriad discovery disputes in the underlying litigation.

The court finds, however, that such overlap is an insufficient

reason, standing alone, to warrant transfer of the motions. Apart

from situations in which the issues are likely to arise in many

districts, the Advisory Committee’s note only identifies resolution

of the motion as disruptive of the underlying litigation if the

issuing court has already ruled on the issues, not if it might or

will rule on them in the future. The risk of overlapping future

rulings, in the name of judicial economy or otherwise, does not

constitute an exceptional circumstance.

     This distinction is consistent with the requirement of the

rule — that exceptional (i.e. unusual) circumstances exist. Most

nonparty subpoenas will raise issues that are related to the

underlying litigation and that are somewhat likely to require

future resolution by the issuing court. If judicial efficiency is

the primary concern, transfer would almost always be appropriate in


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order to avoid multiple rulings on the same issues. The Committee

notes, however, do not cite judicial efficiency as a basis for

transfer.        The     rule   requires      exceptional      circumstances,    as

demonstrated by disruption of the underlying litigation; these

circumstances do not exist simply because the issuing court is in

a better position to decide the motion or because that court may

resolve similar issues in the future. See CMB Expert, LLC, 2014 WL

2197840 at *2 (“[T]he fact that the issuing court undeniably had

greater familiarity with the underlying action did not constitute

an exceptional circumstance.”); see also 9 James Wm. Moore et al.,

Moore’s Federal Practice § 45.50[4] (3d ed. 2014) (“With Rule 45(f)

requiring ‘exceptional circumstances’ for a court-ordered transfer,

transfer of a subpoena-related motion is likely to continue to be

unusual.”). Because the risk of overlapping future rulings is not

an exceptional circumstance (absent multi-district concerns), and

because none of the relators’ other given reasons are sufficient,

the   relators         have   not   demonstrated     exceptional     circumstances

warranting transfer.

                                      CONCLUSION

      Because the relators have not shown exceptional circumstances

justifying transfer, the relators’ motion to transfer [Doc. 6] is

DENIED.     If     the    relators     wish     to   respond    to   Simione    and

SouthernCare’s motions to quash the subpoena, they shall do so by

4:30 PM, November 17, 2014.


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DONE this 4th day of November, 2014.



                                   _____________________________
                                   WILLIAM M. ACKER, JR.
                                   UNITED STATES DISTRICT JUDGE




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